                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                           DOCKET NO. 3:17-cr-00134-FDW-DSC
 UNITED STATES OF AMERICA,                         )
                                                   )
 vs.                                               )                   ORDER
                                                   )                    and
 SHERMAN DEVANTE ADDISON, et. al,                  )       NOTICE OF STATUS CONFERENCE
                                                   )
         Defendants.                               )
                                                   )

        THIS MATTER is before the Court on numerous pending motions related to the setting of

trial in this matter, the filing of pretrial motions, and other administrative matters. During docket

call on September 5, 2017, the Court generally addressed all pending Motions to Continue, as well

as trial setting for the case as a whole to the extent not all Defendants had filed a motion to continue.

For the reasons stated in open court, including the ongoing production of discovery, the Court

GRANTS the motions to continue. As explained in open court, the ends of justice shall be served

by a continuance of trial for all Defendants in this matter, except Cynthia Gilmore, to the January

2, 2018, trial term. See 18 U.S.C. § 3161(h)(8)(1).

         In light of this trial continuance and for the reasons stated in open court during docket

call, the Court also GRANTS the motions for extension of time to file pretrial motions. The Court

hereby extends the deadlines for filing pretrial motions such that Defendants shall file all pretrial

motions no later than December 12, 2017, and the Government shall respond no later than

December 19, 2017. These pretrial deadlines do not extend to Defendant Cynthia Gilmore, nor do

they apply to any of the death penalty-qualifying Defendants.

        Finally, as explained in open court, all “Motions to Adopt Motions of Co-Defendants” are

summarily DENIED, unless the requested relief is otherwise granted above. Counsel is instructed
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    Case 3:17-cr-00134-FDW-SCR               Document 762         Filed 09/11/17       Page 1 of 3
that each Defendant should file his or her own motion requesting relief and explaining the factual

and legal basis for such requested relief as it applies to that individual Defendant. Any further

“Motions to Adopt” shall be summarily denied by this Court.

        IT IS THEREFORE ORDERED that the Motions to Continue Trial (Docs. Nos. 698, 701,

702, 705, 711, 712, 714, 715, 718, 729, 753, and 754) are GRANTED. The ends of justice shall

be served by a continuance of trial for all Defendants (except Cynthia Gilmore) in this matter to

the January 2, 2018, trial term.

        IT IS FURTHER ORDERED that all Motions to Extend the Deadline for filing Pretrial

Motions (Docs. Nos. 707, 710, 712, 713, 717, 719, 723, 724, 730, 746, and 747) are GRANTED.

The Court hereby ex.tends the deadlines for filing pretrial motions such that Defendants shall file

all pretrial motions no later than December 12, 2017, and the Government shall respond no later

than December 19, 2017. These pretrial deadlines do not extend to Defendant Cynthia Gilmore,

nor do they apply to any of the death penalty-qualifying Defendants for whom deadlines for pretrial

motions shall be set at a later date.

        IT IS FURTHER ORDERED that all pending Motions to Adopt Motions of Co-Defendants

(Docs. Nos. 750, 751, 753, 755, and 757) are DENIED unless otherwise granted by the continuance

of trial and other deadlines as set forth above. The Court hereby prohibits the filing of any further

“Motions to Adopt” in this matter.

        IT IS FURTHER ORDERED that Defendant Haynes’ Motion (Doc. No. 743) for counsel

to be excused from the September 5, 2017, docket call is hereby DENIED AS MOOT.

        TAKE NOTICE that a Status Conference in this matter shall take place at 9:30 a.m. on

October 25, 2017, in Courtroom #1-1 of the Charles R. Jonas Building, 401 W. Trade Street,


                                                 2



    Case 3:17-cr-00134-FDW-SCR             Document 762        Filed 09/11/17      Page 2 of 3
Charlotte, North Carolina, 28202. ALL counsel should be in attendance unless otherwise

excused by the Court upon the filing of an appropriate motion.


                                                                 IT IS SO
                                             ORDERED. Signed: September 11, 2017




                                               3



   Case 3:17-cr-00134-FDW-SCR            Document 762        Filed 09/11/17   Page 3 of 3
